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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ADAM DOBSON,                              :   CIVIL ACTION NO. 1:16-CV-1958
                                          :
                   Plaintiff              :   (Chief Judge Conner)
                                          :
             v.                           :
                                          :
THE MILTON HERSEY                         :
SCHOOL, et al.,                           :
                                          :
                   Defendants             :

                                      ORDER

      AND NOW, this 15th day of August, 2018, upon consideration of Plaintiff’s

Motion (Doc. 97) for Enlargement of Time to Respond to Defendants’ Motion for

Judgment on the Pleadings, it is hereby ORDERED that said motion is GRANTED.

Plaintiff’s Response is due on or before September 10, 2018.




                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner, Chief Judge
                                       United States District Court
                                       Middle District of Pennsylvania
